      Case 23-13467         Doc 23      Filed 12/19/23 Entered 12/19/23 11:29:09                 Desc Notice of
                                            Hearing-BK Page 1 of 1
Form ntchrgbk

                                    UNITED STATES BANKRUPTCY COURT
                                          Northern District of Illinois
                                               Eastern Division
                                               219 S Dearborn
                                                  7th Floor
                                              Chicago, IL 60604


                                        Bankruptcy Proceeding No.: 23−13467
                                                     Chapter: 7
                                                Judge: Janet S. Baer

In Re:
   Mohamad Nashawi
   aka Mohamad Ghiyath Nashawi
   1006 E. Maple St.Apt. B
   Lombard, IL 60148
Social Security No.:
   xxx−xx−4604
Employer's Tax I.D. No.:


                                               NOTICE OF HEARING


PLEASE TAKE NOTICE that a hearing will be held in:


                       Courtroom 615, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom

                                           on January 12, 2024 at 11:00 AM

TO CONSIDER AND ACT UPON the following: Court's Motion to Dismiss for failure to pay filing fee. The amount
owed is $338.00. Submit payment in the form of cash or money order payable to the U.S.B.C.



All parties may appear for the hearing either in person in the courtroom or using Zoom for Government.

To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and passcode.

To appear by telephone, call Zoom for Government at 1−669−254−5252 or 1−646−828−7666. Then enter the
meeting ID and passscode.

Meeting ID and passcode. The meeting ID for this hearing is 160 731 2971 and the passcode is 587656. The
meeting ID and passcode can also be found on the judge's page on the court's web site: https://www.ilnb.uscourts.gov.

    If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion will
be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in advance
without a hearing.
                                                            For the Court,

Dated: December 19, 2023                                    Jeffrey P. Allsteadt , Clerk
                                                            United States Bankruptcy Court
